CaS€ 8-16-74455-&8'[ DOC 30 Filed 01/12/17 Eiitered 01/12/17 19211:41

Fii| in this information to |dentlfy your caso:

Dehior1 Antho_ny Ross ..
First Narne Midd|e Nn'ne " `Last Norm _

 

Debtor 2 _ .___
(Spouse l iiiing) Fcrst Name Mlddle Nm'le " l.ast Narm

 

Urliied Siaies Bank|'i.lplcy CDLlrt for lhe' EéSTERN DlSTR|CT LNEW YORK

 

Case number 8-16-74455

 

 

 

 

tirknown) Check ifthis is

_ 7 `<amended filing an
Ofl`lcia| Form 1068um

Summary of ‘(our Assets and Liabi|ities and Certain Statistical information 12115

 

Be as complete and accurate as possible. lt two married people are filing together, both are equally responsible for supplying correct
lntormation. Flll out all ot your schedules tirst; then complete the |nionhation on this tonn. it you are filing amended schedules after you file
your original forms, you must fill out a new Summery and check the box at the top oi' this page.

Summarize Your Assets

Your assets
Vaiue ol what you own
1. Schedule AIB: Property (Ofiicia| Form 106AIB)
1a. Copy line 55. Tota| real estale. from Schedu|e NB $ ______M
1b. Copy line 62. Totat personal property. from Schedule AIB 5 291050.00
1c. Copy line 63, Total ol all properly on Schedule AIB ............................................................................................. $ 546!050,00

summarize Your Llahumes

Your liabilities
Amount you owe

2. Schedule D Credi’tors Who Have Clar'ms Secured by Property tOtncia| Form 1060)

 

 

 

 

 

2a. Copy the total you listed in Co|umn A, Amount of clarm. at the bottom of the last page of Part 1 of Scheduie D... $ 847~°0°'°°
3. Scheduie E/F Credltors Who Have Unsecured Ciar'ms (Ofiiclal Form 106EIF) 0 00
3a. Copy the total claims from Part1 (priority unsecured claims) from l.ne tie of Schedule E/F ................................. 5 -
3b. Copy the total claims from Part 2 (nonprioriiy unsecured claims) from line 6] of Schedule E/F $ 61202.00
Your total liabilities 5 853,202.00
Summarize Your income and Expenses
4. Schedulel‘. Your income (Otiiclal Form 106|) 4 92 1
Copy yourcombined monthly income from line 12 ol Schedulei .................................. _ ................................ 5 12 - 4
. l ' iF
5 SchedueJ Your Expenses(Oliicia orm106J) s 4,459_00

Copy your monthly expenses from line 22c of Schedule J ........................................................ .
lam Answer These Qu_es_tions fo_r A_drninistrative and Statistlcal Records

B. Are you filing for bankruptcy under Chapters 7, 11. or 13?
1:| No. You have nothing to report on this part et the lonn. Check this box and submit th=s form to the coun with your other schedules

l Yes
7. Whet kind of debt do you have?

l ¥our debts are primarily consumer debts. Consumer debts are those 'incurred by an individual primarily for a persona|. fami|y. or
household purpose.” 11 U.S.C. § 101 (8). Filt out lines B-Qg for statistical purposes. 25 U.S C. § 159.

|:| Your debts are not primarily consumer debts. You have nothing to report on th`.s part of the iorm. Check this box and submit this form io
the court with your other schedules.

Oil"icial Form 1OBSum Sumrnary ct \'our Assets and Liabiiities and Certain Statlstical lnfon'nation page 1 012

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Debiori Amhony Ross Case number (lfknown) 8-16.74455

8. From the Statement of Your Current Montiriy income: Copy your total current monthly income from Oiticlal Form 4 292 14
122A~1 Line 11; OR, Form 1225 Llne 11: OR. Form 122C-1 Llne 14. 5 ' '

9. Copy the following special categories ot claims from Part 4, line 6 of Schedule E/F:

Total claim

From Part 4 on Schedule E/F, copy the iollowing:
9a. Domestic support obligations (Copy line Sa.) $ 0.00
Sb. Taxes and certain other debts you owe the government. (Copy line Bb.) $ 0.00
Bc. C|alms lor death or personal injury while you were intoxicated (Copy line 6c.) $ 0.00
9d. Studenl loans. (Copy line Gi.) 5 0.00
Qe. Obligations arising out of a separation agreement or divorce that you did nol report as

priority claims. (Copy line Sg.) n‘°o
91. Debts to pension or prolii-shering plans. and other similar debts (Copy line 6|1) +S 0,00
Bg. Total. Add lines 9a through 91. $ 0.00

Oflicia| Form 1068um Summary ot YourAssets and Liabilities and Certaln Statlstlcai information page 2 ol 2

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Flll in this information to identity your case and this fliing:

Debior 1 Anthony Ross

Frrst Name Mldme Ntane _ast arm
Debtor 2
tSpouse. l ftling) F`lrst Name Mlodie `Name _ast Narre

Uniled Slates Bankrupicy Court for the! EASTERN DlSTR|CT OF NEW YORK

Case number B-‘i_B-'_tl4455 Check ii this is an
amended ming

 

Of'flcia| Form 106A/B
Schedu|e AIB: Property tztts

 

 

in each category. separately list and describe ltems. Llst an asset only onca. ll an asset fits in more than one category, list the asset |n the category where you
think lt lite best. Be as complete and accurate as possible. litwo married people are illing together. both are equally responsible tor supplying correct
intomratlon. |i' more space ls needed, attach a separate sheet to this lorm. Cin the top ot any additional pages, write your name and case number ill known).
Answer every question.

Descrlbe Each Res|dence, Eulldlng, Land, or Other Real Estate ‘i'ou Own or Have an interest in
1 Do you own or have any legal or equitable interest in any residence, bullding, land, or similar property?

Ei No. en to Pari 2
l res \Mtere retire property'r

1 1 tt'il't!at is the property? l:l:eck al rhatappiy

20 lng"ahm Lane . Slngle-tem y home Do not deduct secured claims or exemptions Put

Street aodress_ ii avai ede, or other oes:ripiron the amount of any secured deims on Schedule D
n Dup|ex or mum_un“ building Credr'iors ero Have Cier‘ms Secured by property
n Condomlnlum or cooperative
n Manulactured or mobile horne

Current value oi the Current value ot the

Hempstead NY 11550-0000 |:| Land antlra property? portion you own?

-=itt state zip code i:i investment property saso,ooo.oo saso,ooo.oo
n Time"'hare Doscrtbe the nature ot your ownership interest
cl O\h¢l' (such as lee stmple, tenancy by the entireties. or

't'tiho has an interest in the property? chen ore 3 |"° “m°i- ii known-
- Debiort only FBE simple

Nassau Ci oebior 2 amy

courty
m Dobmn and Debt°r 2 only n Checlt ll' this ls community property
l:i Ai least one et the debtors and another (see ittsrtucrions)

Other lnlon'nation you wish to add about this item. such ss local
property identification numhe r:
residence in foreclosure
Oiticial Form 106NB Schedule AIB: Propeny page 1

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Debtor1 Ar\thony Ross Case number (lrknewrii 8-16-74455
if you own or have more than one, list here:
1.2 What le the property? Chet:it al that apply
§725 CFPe_c°¢_i La_“e _ - Single~iamiiy home Do not deduct secured claims or exemptions Put
Sireet address ii available brother description l b “d| the amount ol any secured claims on Scheduie D.
n cup ex cr mum‘unn u ng Crediiors lM'io Have Clalms Secr.ired by Propeny
m Condominium or cooperative
m Manulaclured or mob .le home
current value ot the Current value of the
Llfh(il'\ia GA 30038-0000 n Land entire property? portion you own?
Cilt' Eieie ZlF Cede m investment property $97,000.00 $97,000.00
l
n Tmeshar° Deecribe the nature ol' your ownership interest
n other tsuch as lee simpie, tenancy by the entireties, or
Who has an interest in the property? Cnecitone ' me ”m°)- " k"°“""
- Debtor 1 only Fee simple
DeKalb i:l center 2 only
County Ci Debtor 1 and Debtor 2 only

Checlr ll' this is community property
n At least one of the debtors and another n tm ini"i-ldidl'l$i

other lni'on'natlon you wish to add about this ltem, such as local
property ldentliication numbe r:

if you own or have more than one, list here:

1 3 What is the property? Chsck el that apply
4909 Terra_ce Green Way l 5|"'9|3~{£|'“"¥ home Do not deduct secured claims or exemptions Put
Street address if avai able :r other deer-noti=n the amount ol any secured claims on Scheduie D.'
D lil- ll b ldi
n up ex or mo un u rim Creo'i'tors Who Have Ct'aims Secured by Property.
m Condominlum or cooperative
n Manulactured or mobile horne
Current value of the Cunent value ot the
Lili`itmia GA 30038-0000 |;| L£lrld entire property? portion you own?
city slate ziP secs l:l investment properly $70,000.00 $70,000.00
i
m T msham Dsscrtbe the nature oi your ownership interest
m omer (auch as lea slmple. tenancy by the entiretlea, or
Who has an interest |n the property? Chedi ona l |"° "ilt°it " known-
- Debtort only Fee simple
PeKalb n Debtor 2 only
C°J""i' n Debtor1 and Debtor2 only

n Checli il this ls community property

|:l At least one oi the debtors and another (aee msiruoionsi

Other |nl'omiation you wish to add about this iteml such as local
property identification numbe r:

in Foreclosure

2. Add the dollar value of the portion you own ior all el your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here => $5171000'°0

Descrlba ‘i'our Vehlcles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone eise drives ll you lease a vehicle. also report lt on Scheduie 5 Execuicry Contracts and Unexpired Leeses

Ol'licia| Form 106NB Scheduie AIB: Propeny page 2
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Debtori Anthony Ross Case number(irrnnwni 8.15-74455

3. Cars, vans, trucks, tractors, sport utility vehiclea, motorcycles

l:l No
l Yes
: Cad|||ac .,._ Do not deduct secured claims or exemptions Put
3 l Meke Who has an interest ln the property? non one me amount or any secured emma on schedule D__
Mgd¢|- Estlalade l D¢b¢°r 1 only Cr'eciiiors Who Have Ciaims Ser:ured by Propeny
Y°ar' 2008 n Debl°" 2 °l'l|ii' Current value ot the Current value el the
Appro:r mate rn::eage: 98000 n Debtor 1 and Debtor 2 only entire property? portion you own?
Oiher lniDlTnaern l:l At least one oi the debtors and another
I:l Checlr lt this ls community property $161400-00 5161400~00
(Iee .nstructions:
t chevrolet _ Do riot deduct secured claims or exemptions Put
3 2 Maire Who has an interest in the property? chest al a the amount or any secured claims on Scheduie D
hodel Tahoe l Debtor 1 only creditors mw Have claims securedby Propeny
Y°a" 2001 n oeb\°r 2 °"|i' Current value oi' the Current value of the
Approxlmate mileage 235000 g Debtor 1 and Debtor 2 only entire property? portion you own?
other inf°"“a"°" i:i Al least one cline debtors and another
m Checlr ll this is community property 550°'00 $500'00

tree imlrudionsi

4. Watercraft. aircraft, motor homes, ATVs and other recreational vahlcias, other vehicles, and accessories
Exempies: Boais. trailers. motors. personal watercrali. fishing vessels snowmob:les. motorcycle accessories

- No
i:i Yes

5 Add the dollar value oi the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number hare => 51619°°'°°

 

Part .‘.i: Describe Your Pereonal and Household items
Do you own or have any-legal or equitable interest ln any el the following itams?' Current value of the

portion you own?
Do not deduct secured

claims or exemptions
6. Househo|d goods end furnishings
Exampies.' Ma]or appliances. lumiture. llnens. chlna, kitchenware
|:l No
l Yes. Describe .....
Usuai household goods and lumishings of nomonal value $1.000~00

7. Electronlcs
Exampies Televislons and radios; eudio. video. stereo. and digital equipment computersl printers. scanners; music coilections; electronic devices
including cell phones, cameras. media piayers, games
i:l No

- ¥es Describe...__

Laptop Cr_r_mputer, television $500.00

8, Coiiect|blas oi value
Exampies.' Antiques and iigurines; paintings, prints, or other artworir; books. plctures. or other art oblects; stamp, coin, or baseball card collections;
other collections. memorabilia. collectibles

l No

|:l Ves. Describe .....
Oi’licial Form 106NB Scheduie AiB' Propeny page 3
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Debtor1 Anthony Rogg Case number (irknown) 8-16-74455

9. Equlpment for sports and hobbies

Exampies. Sports. photographicl exercisel and other hobby equipmeni: blcydes. pool lab|es. golf clubs. skls: canoes and kayaks: carpentry 100|5;
musical instruments
- No

E| Yes. Describe .....

10. Firearrna
Exarnpies. Pistols. ril|es. shotguns. ammunition. and related equipment
l No

L_,l Yes. Describe .....

11 C|othes

Exampies. Everyday clothes. iurs. leather coats. designer wear shoes. accessories
Ei No

l Yes. Describe

usual clothes or nominal value szso.oo

12. Jeweiry

Exampies: Everyday jewelry. costume iewe|ry. engagement rlngs. wedding ringsl heirleom iewelry, waiches. gems. gold. silver
l No

n ‘(es. Describe.._..

13. Non-fan'n animals
Exampies: Dogs. cals. birdsl horses
- No

l'_'i Yes Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
l No

L_.i Yes Give specific information .....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 1
for Part 3. Write that number here $ ,?50.00

Describe Your Flnanc|ai Assets
Do you own or have any legal or equitable interest in any of the following? Currant value of tha

portion you own?
Do not deduct secured
claims or exemptions

16. Cash

Exarrlpies. Nioney you have in your wallet. in your home, in a sale deposit box. and on hand when you tile your petition
l No

n Yes ................................................................................................................

17. Deposits of money

Examples: Checking, savings, or other nnanciai accounts; ceriiiicates ol deposil; shares in credit unions. brokerage houses, and other similar
institutions if you have multiple accounts with the same institution. list each.

l:l No
l Yes ________________________ insi'iiul|on name:
17.1. Checking Banlt Of America $5,800.00
Ofiicia| Form 106NB Scheduie AIB: Propeny page 4

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Debtor1 Anthony Ross
Bank Of Amerlca

17.2. Checklng _Bank Of Amerlca

15 Elonds, mutual tunds, or publicly traded stocks
Exarnples. Bond iunds, investment accounts with brokerage f.rms. money market accounts

l No
EI Yes institution or issuer name:

Ofiicial Form 106AIB Scheduie AIB: Property
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Case number (irknown)

8-1 6-74455

$1,100.00

page 5
sur case sam-um

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Debtor1 Anthony Ross Case number(il'lrrrown) 3-15-74455

19. Non~publiciy traded stock and tnterests in incorporated and unincorporated businesses, tncluding an interest in an LLC, partnership, and
joint venture

lNo

|:l Yes. lee specific information about them ...................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiabie instruments include personal checks. cashiers' checks, promissory notes, and money orders
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them

l No
ij Yes. Give specific information about them
issuer name:

21. Retirement or pension accounts
Examptes. interests in lRA, ER|SA, Keogh. 401(k), 403(b). thrift savings accounts, or other pension or profit-sharing plans

l:lNo

l Yes. Lisl each account separale|y.
Type of account: institution name'

401(k) Long island Rallroad $3_,500.00

22. Securlty deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exampies: Agreemenls with iand|ords, prepaid renl, public utilities (eiectricl gas, waler). telecommunications companiesl or others

- No
E| Yes. institution name or lndivldual:

23. Annultles (A contract for a periodic payment ot money to you, either for life or for a number ot years)
l No
El Yes ,,,,,,,,,,,,, issuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program. or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1). 529A(b), and 529(b}(1).

- No
|:| Yes__u_________ institution name and descriptionl Separaiely tile the records of any interesls.11 Ll S C. § 521(c):

25. Trusts, equitable or future interests in property luther than anything listed in line 1), and rights or powers exercisable for your benefit
l No
i:i Yes. Give specific information about them...

26. Patents, copyrights. trademarks, trade secrets, and other intellectual property
Exampies. |ntemet domain names, websites, proceeds from royalties and licensing agreements

l No
El Yes. Give specific information about them...

27. Llcenses, franchises, and other general lntangibies
Exampies. Bul|ding pennits. exclusive llcenses, cooperative association holdings. liquor licenses, professional licenses

l No
l:l Yes. Give specific information about them...

Money or property owed to you? current Valu° of fha
penton you own?
Do not deduct secured
claims or exemplions.

28. Tax refunds owed to you
- No
L_.| Yes. Give specific information about them. including whether you already filed the reiums and the tax years .......

29. Family support
Exampies. Pasi due or iump sum alimony. spousal suppon, child support. mainlenance, divorce settlementl properly settlement

.No

L`.] Yes. Give specific information ......
Ofiicla| Form 106NB Scheduie AIB: Property page 6

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Deblpr1 Anthony Ross Case number firknnwn) 8-16-74455

30. Other amounts someone owes you
Exemples. Unpaid wages disability insurance payments. disability benefits. sick pay. vacation pay, workers' compensation. Social Securily
benelits; unpaid loans you made to someone else

- No
l:l Yes. Give specific inforrnation..
31. interests in insurance policies

Exampies. Health, disabliity. or lite insurance; health savings account (HSA); credit. homeowner's, or renter's insurance
l'_'l No

l Yes. Name the insurance company of each pol-cy and list its valua.
Company name: Beneiiciary.' Surrender or refund
value:

Metropoiltan Life Doris Ross $0.00

32. Any interest in property that ls due you from someone who has died
|f you are the benehciary of a living trustl expect proceeds from a lite insurance policy. or are currently entitled to receive property because
someone has died.

l No
U Yes. Give specll'c inforrnation..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accldents. employment disputes. insurance ciaims, or rights to sue

l No
L_.l Yes Describe each claim.........

34. Other contingent and unliquidated claims of every nature. including counterclaims of the debtor and rights to setoff claims

l No
l:l Yes. Describe each claim .........

35. Any financial assets you did not already list

- No
U Yes. Give specific lnionnation..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here 310.400-09

D Describe Any Bus|ness.Ralated Property You Own or Have an interest ln. List any reel estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
- No. Go lo PartG
l:i Yes Go to line 33

Part 6: Describe Any Farm- and Commerclet Flshing-Related Propeny Yeu Own or Have an interest |n.
lt you own or have an interest in fannland. list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
. No Go to Part ii

|Zi ves co to line 47

describe nn Propeny You own or Have nn interest in rim von old riot i.isr Ahovs

53. Do you have other property of any kind you did not already list?
Exampies. Season tickets. country club membership

l No
l:l Yes. Give specific information .........

Oilicial Form 106NB Scheduie A!B Property page 7
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named Amh°ny R°ss Case number (irknown) 8-16-74455

54. Add the dollar value of all of your entries from Part ?. Write that number here .......................... $0.00

i.ist the retais et sash Pan or this Form

 

55. Part 1: Total real estate, line 2 $511,000.00
56. Part 2: Total vehicles, line 5 516 900.00

57. Part 3: Total personal and household ltems, line 15 $1,750.00

58. Part 4: Total financial assets, line 36 $_10!400_00

59, Part 5: Total business-related property. line 45 $0.00

60. Part 6: Total fann- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed. line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $29,050.00 C°P¥ P€l'$°l'ia| Propeny total $29,050.00
63. Total of all property on Scheduie Ai'B. Add line 55 + line 62 $546,050.00
Cifiicia| Form 106NB Scheduie AIB: Propeny page 8

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Flll in this information to identify your casa:

Debtor 1 Anthony Ross

First Neme Middle Na'ne _nrt hand
Debtor 2
(Spouse l liling] First Name Middle Na'ne L:st Harro

Un|ied Stales Banitrupicy Cotlrt for the: EASTERN D|STR|CT OF NEW YORK

Case number 8-16-74455
liftinon Mcheck if this is an
amended filing

Officia| Form 1060
Scheduie C: The Property You Claim as Exempt ms

 

Be as complete and accurate as possible. ll two married people are filing together, both are equai!y responsible for supplying correct information Using
the property you listed on Scheduie A/E.' Propeny (Oilicla| Form 106NB) as your source. list the properly that you claim as exempl. if more space is
needed. till out and attach to this page as many copies of Part 2' Adciitional Page as necessary. On the top of any additional pages. write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount ot the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Aiternatlvely, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory i|mlt. Some exemptions-such as those for health alds, rights to receive certain benefits, and tax-exempt retirement
funds-may be unlimited in dollar amount. However, lt you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property ls determined to exceed that emount, your exemption would be limited
to the applicable statutory amount.

identify the Property You C|alm as Exempt
1. Whlch set of exemptions are you claiming? Check one oniy_ even rf your spouse is filing with you
l:l You are claiming state and federal nonbankruptcy exemptionsl 11 U.S.C. § 522(b](3)
- You are claiming federal exemplions. 11 U S.C § 522(b)(2)

2 For any property you list on Scheduie A/B that you claim as exempt, fill in the lniom'latlon below.

Brief description of the property end line on Currerrt value of the Amount of the exemption you claim Speciiic laws that allow exemption
Scheduie NB that lists this property portion you own
Copy the value from Checir only one box for each exemption
Scheduie A/B
5725 Cape cod Lal"le L".h°nia, GA 97 000 00 ss 200 00 11 U.S.C. § 522(€"(5)
aoosa oexarb county 5 ’ ‘ ' ‘
Line imm seasons A/B; 1.2 E| 100% or fair market vaiue, up to

any applicable statutory limit

2008 Cadl||ac Escalade 98000 miles $15 400,00 - $2'400_00 11 U.S.C. § 522(d)l2)
Line from Scheduie A/B: 3.1 '

m 100% of fair market value, up lo
any applicable statutory limit

Usual household goods and s1 ooo_oo - $1’000_00 11 U.S.C. § 522(dl(3)
furnishings of nomonal value '
Line from scheduie A/e: 6.1 |:| 100% affair market value, up iu

any applicable statutory limit

Laptop Computer, television 5500_00 - 5500.00 11 U.S.C. § 522(dll3)
Line from Scheduie A/B: 7.1

ill 100% affair market value. up re
any applicable statutory limit

Usual clothes of nominal value $250_00 . 3250_00 11 U.S.C. § 522(d)(3i
Line from Scheduie A/B: 11 .1

n 100% of fair market value. up to
any app'icable statutory limit

Offic|a| Form 1060 Scheduie C: The Property You C|alm as Exempt page 1 of 4
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Case 8-16-74455-ast

Debtor 1 Anthony Ross

Brlef description of the property end line on
Scheduie A.¢'B that lists this propeny

Checklng: Bank 0f Amerlca
Line trorn Scheduie A/B' 17.1

DOC 30 Filed 01/12/17 Entet’ed 01/12/17 19211:41

Case number til known) 8-1 6-74455

Current value of the Amount of the exemption you claim Specll'ic laws that allow exemption
portion you own

Copy the value from Check only one box for each exemptionl

Scheduie A/B

SS,eoo.ou l ss.aoo.oo 11U-S-C-§522ld)l5l

n 100% ot fair market value. up to
any applicable statutory llm|t

Oiiicial Form 1060 Scheduie C: The Property ¥ou C|alm as Exempt page 2 of 4

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Best Case Barkruptcy

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Debtor 1 Anthony Ross Case number iii known) 8-16-74455
Briet description of the property and line on Current value of the Amount of the exemption you claim Specitic laws that allow exemption
Scheduie A.»'B that lists this property portion you own
Copy the value from Check only one box for each exemption
Scheduie A.tB
Checitlng: Bank Df Amerlca 51'100_00 l 51’100_00 11 U.S.C. § 522(d)(5)

m 100% el fair market value. up to
any applicable statutory limit

Bank Of Amerlca
Line from Scheduie A/B: 17.2

Ofticial Form 1060 Scheduie C: The Propeny You C|alm as Exempt page 3 ot 4
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Debtor 1 Anthony Ross Case number (ii knov.n) 8-16-74455
Brief description of the property and line on Currant value of the Amount of the exemption you claim Spec|fio laws that allow exemption
Scheduie A/B that lists this property portion you own
Copy the value irom Check only one box for each exemption
Scheduie A/B
Beneficiary: Doris Ross
Llne irorn Scheduie A/B: 31.1 n 100% of fair market velue. up to

any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subiect to adjustment on 4101119 and every 3 years alter that for cases filed on or after the date of adjustment.)

l No
EI Yes. Did you acquire the property covered by the exemption within 1.215 days before you ti|ed this case?

l:t No
l:i Yes
Ofi'lcial Form 1060 Scheduie C: The Propeny You C|alm as Exempt page 4 of 4

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Case 8-16-74455-ast

Flll in this information to identify your case:

Debtort Anthony Ross

FlfSi NBl'hB

Debtor 2

(Spouee I' liling) Flrst Neme

United States Bankruptcy Courl for the:

Case number
tit knoqu

8-1 6-74455

Offlcia| Form 106D

Scheduie D: Creditors Who Have C|alms Secured by Property

tit dole N'rme '..ast tia`nn

M dole Nune best herFE

EASTERN DiSTR|CT OF NEW YORK

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heck lt this is an
amended filing

12!15

 

Be as complete end accurate as poeelble. if two married people are filing together, both are equally responsible for supplying correct inrormatlon. lt more space
le needed. copy the Addlt|orlel Pege, flll lt out. number the entries, and attach lt to this torm. On the top ot any additional pegee, write your name end case

number (it known).

1. Do any creditors have claims secured by your property?
El No Check this box and submit th.s form to the court with your other schedules. ¥ou have nothing else lo report on this fonn.

l Yes. Flll in eli urine intimation below.

t.|_st_All Secured Cla|ms

2. Llst all secured clelms. lt a cred'lor has more than orie secured ctaim. list the creditor separately
for each ciaim. lt more than one creditor has a particular claim_ lst the other creditors in Part 2 As
much as possible. list the claims in alphabel cal order awarding to the creditors name

2.1 Natlonstar Mortgage

Creditors Nerne

Lewisville, TX 75067
Number. Slreet 2 ty, State B- Zip Com

Who owes the debt? Checll one

. Debtor1 only

g Debtor 2 only

l:l Debtor l end Debtor 2 only

n At least orie ot the debtors end another

l:l Checlc lt this claim relates to a
community debt

Dete debt was incurred 2009

2.2 Rushmore
".'.'ecltol'li Norne

PO Box 55004
irvine, CA

Nurrbor. El-'ent, Clly Stale a Zip E ada

Who owes the debt? Check one,

l oeoier 1 only

n Debtor 2 only

n Debtor‘i end Debtor 2 only

l:l At least one of the debtors and another

n Check if this claim relates to a
community debt

Dete debt was incurred

Ofi'iclal Form 1060

Column A

Amount of claim
Do not deduct the
value ot colleteral.

Describe the property that secures the clelm: $46!000.00
5725 Cape Cod Lane thhonia, GA

30038 DeKalb Courtty

As of the date you tlle. the claim is: crim oil trial
spur

l:l Cont ngerit

Cl unllqulealeo

l:l Disputed
Nature of lien. Checlr all that apply

- An agreement you made [such as mortgage or secured
car loan)

n Statulory lien (such as tax llen, mechanic s lien)

n Judgment lien from a lawsuit

n Other [includlrig a right to ottset)

021 3

Laet 4 digits of account number

Describe the property that secures the clalrn;

4909 Terrace Green Way Lithonia,
GA 30038 DeKalb County

ln Forec|osure

As ot the date you fl|e. the claim |s: check either
ade

l:l Conilngent

l:l Un:lquidated

U Disputed
Nature of |len. Check a.l that appiy.

$140,000.00

. Ari agreement you made [such as mortgage or secured
car loan)

cl Statutory lien (such as tax llen, mechanics iien)
m Judgmenl lien from a :awsi.ilt
ill other ilnciu:l rig e right lo arisen

6711

Lsst 4 digits of account number

Scheduie D: Credltors Who Have C|alms Secured by Property

Sottware Copyrlgwt (c) 1996-2016 Besi Cese, LLC - wlwrbastcaae rom

Ca'umn B

Vaiue of collateral
that supports this
claim

$97,000.00

sro,ooo.oo

Coi'umn C

l.lnsecured
portion
ll any

$0.00

$70.000.00

page t el 2
Best Case Barlu'uptcy

Case 8-16-74455-ast

Debtor1 Anthony Ross
First Narne

Rushmore Loan Mgmt

Servic
Credltor‘s Name

2,3

P.O. Box 52708
lrvlhe, CA 92619

Nurrbor_ Slreet. City Stab il. Zip Coda

Who owes the debt? Checlt one

l oeblort only

n Debtor 2 only

l:l Debtor 1 end Debtor 2 only

U At least one ot the debtors and another

n Checit if this claim relates to a
community debt

Date debt was incurred 2007

2.4 Wel|s Fargo
Credtora Name

P.O. Box 168048
Irving, TX 75016

Nun'ber. Street, City Stab s Zip Com

Who owes the debt? Check one

l center t only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

l:l At least one ot the debtors and another

n Checlt if this claim relates to a
community debt

Dll& debt WBS inclide

Add the dollar value of your entries in Column A on this paga. Write that number here:
if this lathe last page of your form. add the dollar value totals from all pages.

Write that number here:

Middle Nane

Case number (lll¢new)

Lalt Neh'e

5647,000.00

Describe the property that secures the clelm:
20 lngrahm Lane Hempstead. N‘l'
11550 Nassau Couhty

residence ln foreclosure

As of the date you l'lie. the claim ls: Checlt either
apply

l:l Contlngeni

El un lquldatea

l:l 0 sputed

Nature of lien. Check ali that apply

- An agreement you made isuch as mortgage or secured
car loan)

i:i Stalutory .en (sucl'l as tax lenl mechan|c's ' eni

l:l Judgn'leht lien from a lawsuit

i:i other ¢lncluelnq a right to arisen

Last 4 digits of account number 6711

514 000.00

Describe the property that secures the clalm:

2008 Cadl||ac Escalade 98000 miles

As ot the date you fllel the claim ls'. t:heclt ell that
apply

l:l Conllrlgenl

l:l Un iquldeled

n D sputed

Natt.tre of llen. Check ali that apply

- An agreement you made (euch as mortgage cr secured
car ioan)

i:] Stalutory -.en [eum as tax iien. mechanics |=en|

i:i .'udgrnent lien trom a lawsuit

i:l Other -:including a right to ollsel)

9?26

Last 4 digits of account number

l.lst others_te _e_e Netlrlee ror a cent Thatyou _Al_rgg¢ty t__tete¢l

Use this page only if you have others to be notified about your bankruptcy fora debt that you already listed in Part1. For examp|a, if a collection agency is
trying to collect from you for a debt you owe to someone eise, list the creditor in Part 'i, and then list the collection agency here. Slmllarly, if you have more
then one creditor for any of the debts that you listed tn Part 1, list the additional creditors here. lf you do not have additional persons to be notified for any

debts in Fart 1, do not fill outer submit this page.

n Name, Number. Strcel Cily. State s Zip Code

Shapiro, DiCaro & Barak,
175 Mile Crossing B|vd
Rochester, NY 14624

Ofilcia| Form 1060

Lest 4 digits of account number __

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8-1 6-74455

$350,000.00

$16,400.00

53473000.00
se47,ooo.oo _

on which line ln Part 1 eid you entertl-le creditors 2.1

Addltional Page of Scheduie D: Credltors Who Have Claims Secured by Propeny

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5297,000.00

$0.00

page 2 of 2

Best Case Berkruptcy

CaS€ 8-16-74455-&8'[ DOC 30 Filed 01/12/17 Entet’ed 01/12/17 19211:41

Flll in this information to identify your caso:

Debtor1 Anthony Ross

Flrst `Narne tlil dole Narrle Leet Name
Debtor 2 7 _
(Spouse l‘ hi ng) Flrst Nama `Midde Ntme Lasl Nan'e

United States Bankruploy Court for lhe: EASTERN DlSTR|CT OF NEW YORK

Case number 8-16-74455

illinoqu Check if this is an
mended liling

Oiilcia| Form 106EIF

Scheduie EiF: Creditors Who Have Unsecured Claims 12115

 

Be as complete and accurate as possible. Use Fert 1 for creditors with PRIDRlTY claims end Part 2 for creditors with NONPRIOR|TY claln'ls. i.lst the other party to
any executory contracts or unexpired leases that could result tn a c|alm. Aleo list executory contracts on Scheduie AIB: Propeny (Otl'lcial Form 106AIB) and on
Scheduie G: Executory Contracts and Unexpired Leases {Ciiilcial Form 1066). Do not include any creditors with partially secured claims that are listed in
Scheduie D: Cred|tors Who Have C|alme Secured by Propeny. il' more space is needed. copy the Part you heed, till it out, number the entries in the boxes on the
lett. Atlach the Contlhuatlon Page to this page. lt you have ne lnionnetion to report in a Part, do not tile that Part. On the top ot any additional pages, write your
name and case number (if il.nown|.

Llct All or Your PRtoRm' uncocurod clalrnc
1. Do any creditors have priority unsecured claims against you?

- No Go to Pan 2.

El Yes
l.tsl All etYour NoNPRloRlTY unsecured claims

3. Do any creditors have nonpriorlry unsecured claims against you?
El No. You have nothing to report in this parl. Submit this form lo the court with your other schedules

- ¥es.

4. List all ol' your nonpriorlry unsecured claims in the alphabetical order of the creditor who holds each cla|m. ll creditor has more lhan one nonprion'ty
unsecured claiml st the creditor separately ior each claim. For each daim listed. identity what type of claim il is. Do not list claims already included ih Fart t. ll more
than one creditor holds a particular claim. list the other creditors in Part 3.|| you have more than three nonpnority unsecured claims till out the Continuation Page of

Part 2
Total claim
4 t chase card Lasl 4 digits or account number 2041 5714.00
Nonpriority Creditol‘s Name
P.O. BOX 15298 When was the debt lncurred'i 1999
Wllmington_, DE 19850
Number Slreet Clty State le Code As of the date you file, the claim ls: Check all that apply
Who incurred the deth Checlt one
l Debtorl only n Cont|ngenl
Ei Debtor 2 only ill unliquidated
n Debtor l and Debtor 2 only i:l Disputed
m At least one of the debtors and another T\'P° °f N°NPM°R'T¥ ""”c""°d °'a'm:
n Checlt ll' this claim la fora community m S'“d°m loans
debt i:l Obligetlons arising out of a separation agreement or divorce that you did not
ls the claim subject to otiset? report as priority claims
l No El Debts to pension or profit-sharing plans. and other similar debts
n Yes - other speci¢y Cl'Bdil Cafd
Ofticlal Form 106 EiF Scheduie EIF: Craditors Who Have Unsecured Claims Pege 1 ol 3
Sottllllare Copyrigrt (ci 1996-2016 Best Case LLC - wm bestcese com 53332 Best Case Baritruplcy

Case 8-16-74455-ast

Debtor 1 Anthony Ross

4,2

43

44

Otl'icial Form 106 EIF
Setrware Copyrtg'lt ici 1996-2016 Best Case_ LLC

ooi<alb county utility
Nonpriority Credltoi‘s Name

PO Box 105942

Atlanta GA 30348

Number Street City State Zip Code

Who incurred the debt'i' Checlt one.

. Debtort only

I:I Debtor 2 only

l:l debtor 1 and Debtor 2 only

D Al least one ol the debtors and another

l:l Checlt lt this claim ls for a community
debt

ts the claim subject to otiset?
l No
m Yes

Grady Roberts

Nonpriority Credltors Narne

5243 Royal Woods Pkwy, ST
Tucker GA 30084

Number Street City State Zip Code

Who lncurred the debt? Check one.

- Debtor 1 only

m Debtor 2 only

[:l Debtor 1 and Debtor 2 only

l:l At least orie ol the debtors and another

l:l Gheclt lt this claim ls l'or a community
debt
lathe claim subject to olfset?

l No
m Yes

Se|ect Portfolio Services
Nonpriority Credltol‘s Nan'le
P.O. Box 65250

Salt Laite City, UT 84165
Number street City State Zip Code

Who incurred the debt? Checlt one

- Debtort only

n Debtor 2 only

m Debtor 1 and DebtorZoniy

n At least one ot the debtors and another

ij check li title claim le ior a community
debt
ls the claim subject to oilset?

l No
m Yes

Scheduie EIF: Credltors Who Have Unsecured Clalms

- wsm thesian com

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Case number (ii ltrtotv) 8-16-74465

Lsst 4 digits el account number 8702 $5,200.00
When was the debt lncurred‘? 2007

As ot the date you t”ile, the claim ls: Check ali that apply

n Contlngent
E| un iqu dated

L_.l Dlsputed
Type ot NDNPR|OR|TY unsecured clalm:

n Student loans

l:] Obligations arising out ot a separation agreement or divorce that you did not
report as priority claims

m Deth w pens|°“ °' P"°m'"harl"§ P|ane and other s milar debts
- Other Spe¢lty Utlity

Lsst 4 digits ot account number $0.00
When was the debt incurred? 201 6

As ol the date you llle, the claim ls: Check a lthat apply

n Cont:ngent
El unliquidated

m Dlspuled
Type of NONPR|OR|T\' unsecured clalm:

n Student loans

l:l Obllgat oris arising out ot a separation agreement or divorce that you d d not
report as priority claims

n Debls to pension or profit-sharing plans. and other similar debts

l other sp,c“y Attorney fees

Lsst 4 dlglts ot account number $0.00

When was the debt lncurred? 2009-2011

As of the date you tlle, the claim ls: Checlt ali that apply

l:l Contlngent
El unliquidated

U Disputed
Type ct NONPR|QR|TY unsecured clalm:

m Sludent loans

n Ob igations arising out ol' a separation agreement or divorce that you did not
report as priority claims

g Debe 10 P€Miun or pmm-sharing plana. end other similar debts
l other spociry credit card

Page 2 of 3
Bast Case Ber'lin.lptcy

Case 8-16-74455-ast

Debtor 1 Anthony Ross

4.5

USAA Savlngs Bank
Nonpriority Credltoi’s Name

P.O. Box 47504

San Antonlo, TX 78265
Number Streel City State Zip Code

ti\lho incurred the debt? Check one.

. Debtort only

\:l Debtor 2 only

E| Debtori and oeetor 2 only

l:l At least one ot the debtors end another

n Checlt lt this claim is for s community
ddbt

ls the claim subject to offset?
l tile
n Yes

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Case number (ir ltndw) 8-16-74455

Lsst 4 digits ol account number 5491 $288.00

When was the debt lncurred? 2014

As of the date you filel the claim ls: Check all that apply

U Cont|ngent
l:l Unllquidated

n Dispuied
Type of NONPR|DR|TY unsecured claim:

l:l Student loans

l:l Obligalions arising out of separation agreement or divorce that you did not
report as priority claims

n news '° p°"s‘°“ °" F"°m"hannq P|Brll. and other similar debts
- Othdr. Speci|'y Cl'edlt Cal’d

m Llet others to so Notlried Ahout a petit Thst You Already th;i_ted

use this page only lt you have others to be notified about your bankruptcy. t‘or a debt that you already listed in Parts 1 or 2. For example, if a collection agency

ls trying to collect from you for a debt you owe to someone else, list the original creditor ln Part.s 1 or 2, then list the collection agency here. Simllariy, if you
have more than one creditor for any oi the debts that you listed in Parts 1 or 2, list the additional creditors here. ll you do not have additional persons to be
notified tor any debts irl Parts 1 or 2, do not llil out or submit this page.

Add the Amounts lor Each Type of Unsecurad C|alm

6. Total the amounts of certain types ol unsecured claims. This information is ior statistical reporting purposes onty. 28 U.S.C. §159. Add the amounts lor each
type of unsecured clalm.

Total C|alm
Ea. Domestic support obligations Ea. $ 0,00
Total
claims
from Fartt 6b Taxes and certain other debts you owe the government Bb. $ 0,00
Sc. Cialms for death or personal injury while you were intoxicated Bc. 5 U_Oi]
Ed Other. Add all other priority unsecured claims Write that amount here ed 5 0,00
se Total Prioriiy. Add lines 6a through ed 6a s 0.00
Total C|alm
61 Studentioans 61 5 0_[)0
Total
claims
from Fsrt 2 Bg Obiigatlons arising out ot a separation agreement or divorce that o 00
you did not report as priority claims 59 5 -
6b Debts to pension or profit-sharing plans, and other similar debts 6h s 0‘00
di Otl'ler. Add ali other nonprioriiy unsecured claims. Write that amount 6|
here. s 6,202.00
6j. Total Nonpriorityt Add lines 61 through di 61 5 6 202.00

Otnclai Form 106 E.lF

Scheduie EiF: Creditors Who Have Unsecured C|a|ms

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page 3 of 3
Bssl Case Bar'kruptcy

CaS€ 8-16-74455-&8'[ DOC 30 Filed 01/12/17 Entel’ed 01/12/17 19211:41

Fi|| il't this information lo identi our case:

Debtor1 Anthony Ross
Debtor 2
tSpeuse fliling)
United States Bankruptcy Court lorthe. EASTERN DlSTR|CT OF NEW YORK
Case number 8.16.74455 C ck if this is:
""‘"°“'"’ An amended filing
i:l A supplement showing postpetition chapter
13 income as of the following dale
OfiiCial FOi`lTi 106| m
Scheduie l: Your income 12115

Be as complete and accurate as posslb|e. if two married people are filing together iDebtor1 and Debtor 2), both are equally responsible for
supplying correct informationl if you are married and not filing ]ointly, and your spouse is living with you, include information about your
spouse. if you are separated and your spouse ls not filing with you, do not include information about your spouse. if more space ls needed,
attach a separate sheet to this form. Dn the top of any additional pages, write your name and case number (if known). Answer avery question.

Describe Employment

i. Fi|i in your employment
|nf°ma“°n_ Debtor 1 Debtor 2 or non-filing spouse
liyou have more than one ]ob. E l t mt - Emp|oyed n EmP|fWF-‘d
attach a separate page with mp °YmB" 5 vs
information about additional n N°t employed m Nol employed
em lo ers.
p y Occupatlon Maintenance
include part-time. seasonal. or
self-employed work. Emp|°yer's name Long island Rai|road
3°§3§§:.3§£?’§¢"l`r°l'§»‘:»i§:'°°"‘ E"`”'°’°"“ °°'d'°’“ 93-02 Sutphln Blvd
' Jamatca, NY 11435
How long employed there? Five Yeal"S
Give Deta|ls About Monthly income

Estlmate monthly income as of the date you file this form. if you have nothing to report for any |ine, write 50 in the space. lnciudo your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer. combine the :nformalion for all employers for that person on the lines below. ll you need
more space. attach a separate sheet to this form

For Debtor 1 For Debtor 2 or
non-filing spouse

Llst monthly gross wages, salary, end commissions (before ali payroll
2- deductions). |f not paid monlh|y. calculate what the monthly wage would be. 2 5 6'°82'53 5 N'A
3. Estlmate end list monthly overtime pay. 3. +$ 0.00 *S Ni'A
4. Ca|cu|ste gross lncorne. Add line 2 + line 3. 4. 5 5,082.53 5 NIA

Oithlai Form l06i Scltr:duic |: \'eur income page l

CaS€ 8-16-74455-&8'[ DOC 30 Filed 01/12/17 Entet’ed 01/12/17 19211:41

Debtor 1 Artfhony Ross Case number (rlknowrri B-16-14455
For Debtor1 For Debtor 2 or
non-filing spouse
Copy line 4 here 4. 5 6,082.53 NIA
5. Llst all payroll deductions:
5a. Tax, Medicare, end Social Security deductions 5a. $ 1 444.30 5 Ni'A
Sb. Mandatory contributions for retirement plans 5b. $ 0.00 S NiA
5c. Voluntery contributions for retirement plans 5¢:. 5 255.67 5 NiA
5d Requirad repayments of retirement fund loans 5d. 5 795.69 $ NlA
5a. insurance 5a. $ 94.73 $ Ni'A
5f. Domestic support obligations 5f. $ 0.00 5 Ni'A
59. Union dues 59. 5 0.00 5 NIA
5h. Other deductions. Specify: 5h.+ $ 0.00 5 NIA
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. 5 2_,590.39 $ NIA
Calcu|ete total monthly take-home pay. Subtracl line 6 from line 4. 7. $ 3,492.14 $ NIA
8. Llst all other lncome regularly received:
Ba. Net income imm rental property and from operating a businessl
profession, or farm
Atlach a statement for each property and business showing gross
receipts. ordinary and necessary business expenses. and the total
monthly net income. Ba. S 0.00 $ Ni'A
Bb. interest end dividends Bb. $ 0.00 5 Ni'A
Bc. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony. spousal support. chl'.d support. maintenance. divorce
settlement. and property settlementl Bc. S 0.00 S NIA
Bd. Unemployment compensation Bd 5 0.00 S NiA
Be. Social Security Be. $ 0.00 5 NiA
iif. Other government assistance that you regularly receive
include cash assistance and the value lif known) of any non-cash assistance
that you receive. such as food stamps (benelits under the Supplemental
Nutn`l|on Assistance Program) or housing subsidies
Speciiy: Bi. 3 0.00 $ NlA
Bg. Pens|on or retirement income 89. 5 0.00 $ Ni'A
Bh. Other monthly income. Specify: Rerrt 8h. 5 800.00 5 Ni'A
9. Add ali other income. Add lines Ba+Bb+Bc+Bd+Be+Bf+Sg+tih. 9. 5 800.00 $ Ni'A
10. Calcu|ete monthly income. Add line 7 + line 9. 10. $ 4,292.14 + $ NIA = $ 4,292.14
Add the entries in line 10 for Debtor1 and Debtor 2 or non-iiiing spouse.
11 State all other regular contributions to the expenses that you list in Scheduie J.
include contributions irorn an unmarried partner. members of your household. your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Scheduie J.
Specify'. 11. +$ 0.00
12. Add the amount in the last column of line 10 to tire amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statr'str'cal Summary of Certar'n l_r'abr'lr'tles and Related Data, ii it
app“es s 4,292.14
Combined
monthly income
13 Do you expect an increase or decrease within the year after you file this form?
l No.
|:| Yes. Exp|aln:
Oft"tciai Form itii')i Scheduie l: \'nur income prrg_-.' 2

CaS€ 8-16-74455-&8'[ DOC 30 Filed 01/12/17 Entet’ed 01/12/17 19211:41

Fi|| irl this information lo identify your case:

Debtor 1 An‘[hony Ross Ci't if this iS'

An amended filing
Debtor 2 |'_'l A supplement showing postpetition chapter
(Spouse. il nllng) 13 expenses as of the following date
United States Bankruptcy Coun for the: EASTERN DlSTR|CT OF NEW YORK MM t DD l YYY¥

Case number 8-16»14455

(lf itnown)

thcia| Form 106J
Scheduie J: Your Expenses rzns

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number llf known). Answer every question.

Describe ¥our Houseitoid
1. is this a joint case?

l No. Go to line 2.
i:i ‘r'es. Does Debtor 2 live tn a separate househo|d?

|:i No
ill Yes. Debtor 2 must file Ofticial Form 106J~2, Expenses for Seperale Household of Debtor 2.

2. Do you have dependents? l No

Do riot list Debl0r1 and |:| yes, Flll out this information for Dependent's relationship to Dependent'e Doss dependent
Debtor 2_ each dependent.. . Debtor1 or Debtor 2 age live with you?
. '__.'_. '_' _".. ' .. . ."".'." '- t.__'" " -- '

Do not state the i:l No
dependents names. n Yes

l:i No

l:l Yes

|:i No

El Yes

l:i No

i:i Yes

3. Do your expenses include l N°

expenses of people other than m

yourself and your dependents? Yes

Estimate Your Onggoln Monthty Expenses
Estimate your expenses as of your bankruptcy illing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Scheduie J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance lf you know
the value of such assistance and have included it on Scheduie i: Yourincome

 

 

romclar Form 1osr.r _ Y°\" a“P\"'¢*°** l
4. The rental or horne ownership expenses for your residence. include first mortgage 1 800 00
payments and any rent for the ground or |ot. 4- 5 » -
if not included in line 4:
4a. Real estate taxes 4a $ 0.00
4b Propeny. homeownersl or renter's insurance 4b. $ 0.00
4c l-iome maintenance repairl and upkeep expenses 4c. S 0.00
4d. Homeowner’s association or condominium dues 4d. 5 0.00
5. Additlonal mortgage payments for your residence, such as home equity loans 5. 5 0.00

Ollicial Form tOBJ Scheduie J: Your Expenses page 1

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Debtor1 Anthony Ross

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9°.`“

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21.
22.

23.

24.

Utillties:

Sa. Electricity. heat. natural gas

Bb. Waier. sewer. garbage collection

6c. Telephone, cell phone, inlernel. satellite. and cable services

6d. Other. Specify:

Food end housekeeping supplies

Childcare and children's education costs

C|othing. laundry, and dry cleaning

Persona| care products end services

lii'ledical and dental expenses

Transportation. include gas_ maintenance bus or train fare.

Do nol include car payments.

Entertainment, clubs. recreation, newspapers, magazines, and books
Charltable contributions and religious donations

lnsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Liie insurance

15b. |-iealth insurance

15c. Veh|cle insurance

15d. Other insuranoe. Specify~

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

installment or lease payments:

17a. Car payments for Vehic|e 1

17b. Car payments for Vehic|e 2

17i:. Other. Specify:

17d. Other. Specify:

Your payments of allmony, maintenance, and support that you did not report as
deducted from your pay on line 5. Scheduie l, Your income (Oflicial Form 106||.
Other payments you make to support others who do not live with you.
Specify:

Othar real property expenses not included in lines 4 or 5 of this form or on Scheduie l: Your income.
20a.

20b.
20c.
20d.
20e.

21.

20a. Mortgages on other property

20b. Real estate taxes

20c. Propeny. homeownersl or renter's insurance
20d. Maintenance. repair. and upkeep expenses
20e. i-iomeowner's association or condominium dues
Other: Specify:

Calcu|ete your monthly expenses
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses lor Debtor 2). ll any. from Of‘iicia| Form 106J-2

22c. Add line 22a and 22b. The result ls your monthly expenses
Calcu|ete your monthly net lncon'te.

23a. Copy line 12 (your combined monthly income) from Scheduie l.
23b. Copy your monthly expenses from line 22c above.

23c. Subtraci your monthly expenses from your monthly income.
The result is your monthly net income.

De you expect an increase or decrease in your expenses within the year alter you tile this tonn?
For exampie, do you expect to finish paying for your car loan within the year or do you expect your mongage payment to increase or decrease because ct e

modiiicetion to lite terms of your mortgage?
l No.
l:l Yes. Explain here:

Oihcial Form 106..| Scheduie J: Your Expenses

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Case number (il known)

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6c.
6d.
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8-16-74455

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page 2

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Fi|l |n this information to identify your caso:

Debtor 1 Anthony Ross

First Name `Nlideie Ne'ne l.esl Nerm
Debtor 2
(Spoule I. hlinpl Ftrst Name Middle Nm'le l.esl Nerm

United States Bankruptcy Court lor lhe: EASTERN DlSTR|CT OF NEW YORK

Case number 8-16-74455

iiikmwn} Check if this is an

mended filing

Ochia| Form 106Dec
Declaration About an individual Debtor's Schedu|es ms

lf hue married people are filing together. both are equally responsible for supplying correct lnformation.

You must file this form whenever you file bankruptcy schedules or amended schedules. Maklng a false statement1 concealing property. or
obtaining money er property by fraud fn connection with a bankruptcy case can result in lines up to 5250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519. and 3571.

Did you pay or agree to pay someone who is NO`i‘ an attorney to help you fill out bankruptcy fon'ns?

-No

|:| Yes. Name oi person Aitach Bankruptcy Peli'li'on Preparer's Nolice.

Declaration, end Slgnelure (Olticial Form 119)

Under penalty of perlury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct

X lsi Anthony Ross X _ _ _
Anthorty Ross Signature of Debtor 2
Signaiure ot Debtor 1
Date January 6 2017 Dale

Ofiiclai Form 106Dec Declaration About an individual Debtor's Scheduies

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